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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )      19 CR 573
             v.                               )
                                              )      Judge Edmond E. Chang
ROBERT S. WAKSMUNDZKI                         )



               GOVERNMENT=S SENTENCING MEMORANUDM

       For the reasons set forth below, the government submits that a sentence of 66

percent of the low-end of the Guidelines range, pursuant to a downward departure

under U.S.S.G. § 5K1.1, is sufficient but not greater than necessary to satisfy the

principles set forth in the Sentencing Guidelines and 18 U.S.C. § 3553(a).

I.     BACKGROUND

       As set forth in the plea agreement (Dkt. 6) and Presentence Investigation

Report (PSR ¶¶ 14–19), defendant and Individual A owned and operated a series of

websites under the name “Torrentz.” Defendant and Individual A designed,

developed, and operated Torrentz to facilitate—and generate millions of dollars in

advertising revenue from—unlawful access to copyright-protected media, including

movies (some of which were still playing in theaters), television shows, music, video

games, computer software, and electronic books—all without permission of the

copyright holders.

       Initially, movies, television shows, music, and other copyright-protected media

were made available on Torrentz, which assisted visitors to the site to acquire the


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media through BitTorrent technology. Later, defendant reconfigured Torrentz so that

it operated as a search engine for other websites that made copyright-protected

media—including works being prepared for commercial distribution—available to

visitors. Visitors to Torrentz could search for and locate copyright-protected media,

after which they would be redirected to other sites to acquire the media using

BitTorrent technology without the lawful copyright owners’ permission. Although

there were non-infringing torrents on his website (for works where copyright

protection had expired), defendant was aware that the vast majority of visitors used

Torrentz to seek out and acquire copyright-protected media. (Indeed, defendant

himself used Torrentz to find and acquire copyright-protected media.)

      Torrentz became wildly popular, and at one point in 2014 was the 164th most-

visited website on the entire internet—ranking it ahead of the websites of Walmart,

the NFL, and Expedia. Based on this popularity, defendant monetized Torrentz by

soliciting advertisements for the site. Defendant knew that increased visitor traffic

would lead to higher revenue, and that visitor traffic was dependent on the ease with

which visitors to Torrentz could find and acquire copyrighted materials. Between

2009 and 2015, Torrentz earned over $9,500,000 in advertising revenue.

      While earning this revenue from his operation of Torrentz, defendant used a

tax preparer for his federal income tax returns. In 2009, the defendant suggested to

the preparer that the income figure was low based on his tax return, but after

discussing it with the preparer, defendant did not challenge the return because the

preparer told him he could file the return with the lower income figure. After both



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defendant’s 2009 and 2010 returns were prepared, defendant reviewed them, signed

them, and declared under penalty of perjury that the information contained therein

was true and accurate to the best of his knowledge, despite knowing that the income

listed was incorrect and too low. Defendant’s actions resulted in a total tax loss to

the IRS of $194,166.

II.     COOPERATION

        As detailed in the Supplement to the Government’s Version of the Offense and

the Presentence Investigation Report (see PSR ¶ 114), pursuant to Guideline § 5K1.1

the government is recommending a downward departure in defendant’s sentence to

66 percent of the low-end of the Guidelines range, based on his provision of

substantial assistance. Because some of the matters in which defendant provided

assistance are ongoing, the Government’s Version details the defendant’s

cooperation. In summary, defendant provided information relating to two foreign

investigations, three Northern District of Illinois investigations, and one other matter

being investigated by HSI. The government will more fully address the value of

defendant’s assistance at sentencing.

III. PRESENTENCE             INVESTIGATION          REPORT        &    GUIDELINES
     CALCULATIONS

        The government has no objections to the Presentence Investigation Report, and

agrees with the Guidelines and criminal history calculations set forth, which match

those in the plea agreement and the Government’s Version of the Offense. See PSR

¶¶ 28–42.




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    IV.     ANALYSIS OF SENTENCING FACTORS UNDER 18 U.S.C. ' 3553(a)

            Based on the factors set forth in Title 18, United States Code, Section 3553(a),

a sentence of 66 percent of the low end of the Guidelines range is sufficient, but not

greater than necessary, to provide just punishment, promote respect for the law, and

afford adequate deterrence, while also accounting for defendant’s substantial

assistance pursuant to U.S.S.G. § 5K1.1.

                  1. Nature, Circumstances, and Seriousness of the Offense, the
                     Need to Promote Respect for the Law, Provide Just
                     Punishment, and Afford Adequate Deterrence

            Internet piracy of copyrighted material is a massive illegal industry. According

to a June 2019 report by the U.S. Chamber of Commerce’s Global Innovation Policy

Center, movie and television piracy costs the United States economy at least $29.2

billion each year. 1 Piracy is not a victimless crime; the indirect effects of pirated

content include not only billions in lost revenues, but also the loss of jobs in the U.S.

in the content production and related industries.

            While the problem has only grown, even in 2014 defendant’s Torrentz website

was the 164th most trafficked website on the entire internet. That immense volume

of visitors—nearly all of whom were seeking copyrighted material—translated into

over $9.5 million in advertising revenue for the defendant. Defendant’s sentence

must therefore not only reflect the seriousness of his offense, but also provide general

deterrence to others who might be tempted to create new websites like Torrentz.




1   See www.theglobalipcenter.com/wp-content/uploads/2019/06/Digital-Video-Piracy.pdf.

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             2. History and Characteristics of the Defendant

      Mr. Waksmundzki’s history and characteristics present significant factors in

mitigation. He has no criminal history, PSR ¶¶ 52–54, and worked hard to become a

self-taught software developer proficient in a variety of coding languages and

programs. PSR ¶¶ 73–77. He also immediately cooperated with the government after

federal agents approached him, and assisted the government in seizing over $5

million in assets, which he has consented to forfeit as part of his plea agreement.

Furthermore, and as discussed above, defendant has provided substantial assistance

in several other investigations. Lastly, while defendant certainly chose to operate

Torrentz as an illegal piracy site, he did not meaningfully choose to stay in the United

States when he was 14 (see PSR ¶¶ 62–63) or to not apply for legal status as a minor—

unlike the rest of his family, or unlike someone who chooses as an adult to unlawfully

enter the United States and then commit a crime. However, those actions by his

family when Mr. Waksmundzki was a minor will have profound consequences on the

defendant because of this conviction, and should be considered by this Court in

fashioning an appropriate sentence.

             3. The Need to Avoid Unwarranted Sentencing Disparities

      Unlike many cases before this Court, there are few—if any—comparisons of

sentences for individuals similarly situated to the defendant. This comparison—and

the need to avoid unwarranted disparities with other offenders who are sentenced in

this district and across the United States—is further complicated by defendant’s

substantial assistance in several other investigations, which also makes him unlike



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defendants in other large copyright infringement cases. Defendant’s cooperation,

however, is something that the government and the Court can independently assess,

and based on his substantial assistance in a variety of matters, the government is

recommending a departure from the Guidelines pursuant to §5K1.1.

V.      SUPERVISED RELEASE

        The government agrees with Probation that no term of supervised release

should be imposed in this case, pursuant to Guideline § 5D1.1, because it is not

required by statute and the defendant is likely to be deported following his term of

imprisonment.     PSR ¶ 99.    However, if the Court wishes to impose a term of

supervised release, the government has no objections to the proposed conditions set

out in the Presentence Investigation Report.

VI.     FINE, RESTITUTION & FORFEITURE

        As contemplated in the plea agreement and recommended in the Presentence

Investigation Report, the government agrees that restitution for Count One should

not be ordered both because the large number of victims makes it impractical, and

because of the difficulty of determining individual victim’s losses. PSR ¶ 108. In this

case, apportioning restitution among copyright holders would prolong the sentencing

process such that the need to provide restitution to any victim is outweighed by the

burden to the sentencing process. For Count Two, defendant has agreed to pay

restitution of $194,166 to the IRS. PSR ¶ 109.

        Defendant has, however, agreed to the entry of a forfeiture judgment based on

the advertising revenue he received from running Torrentz. Currently over $5.4


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million is held by the government, and defendant has agreed to a total judgment of

approximately $9.8 million. PSR ¶ 108. Because of this forfeiture judgment and the

use of defendant’s assets and properties to satisfy it, the defendant will likely not

have the ability to pay an additional fine.

VII.     CONCLUSION

         For the reasons set forth above, the government respectfully requests that this

Court impose a sentence of 66 percent of the low-end of the Guidelines range,

pursuant to a downward departure under U.S.S.G. § 5K1.1.



                                         Respectfully submitted,

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